Case 6:16-cr-00025-DEW-PJH             Document 330         Filed 03/08/17       Page 1 of 2 PageID #:
                                              1786



                              UNITED STATES DISTRICT COURT

                             WESTERN DISTRICT OF LOUISIANA

  UNITED STATES OF AMERICA                           *     CRIMINAL NO. 6:15-CR-00025-04


  VERSUS                                             *     JUDGE WALTER


  JEREMY TYLER (04)                                  *     MAGISTRATE JUDGE HANNA


                   REPORT AND RECOMMENDATION
                                ON
   FELONY GUILTY PLEA BEFORE THE UNITED STATES MAGISTRATE JUDGE

         Pursuant to Title 28, United States Code, Section 636(b), and with the written and oral

 consent of the defendant, this matter has been referred by the District Court for administration of

 guilty plea and allocution under Rule 11 of the Federal Rules of Criminal Procedure.

         This cause came before the undersigned United States Magistrate Judge for a change of plea

 hearing and allocution of the defendant, Jeremy Tyler, on March 6, 2017. The defendant was present

 with his counsel, Gerald J. Block.

         After the hearing, and for the reasons orally assigned, it is the finding of the undersigned that

 the defendant is fully competent, that his plea of guilty is knowing and voluntary, and that his guilty

 plea to Count 1 of the Bill of Information is fully supported by a written factual basis for each of the

 essential elements of the offense.

         Additionally, the defendant voluntarily waived the fourteen day objection period that would

 otherwise be available under 28 U.S.C. § 636. (Rec. Doc. 325).

         Therefore, the undersigned United States Magistrate Judge recommends that the District

 Court ACCEPT the guilty plea of the defendant, Jeremy Tyler, in accordance with the terms of the
Case 6:16-cr-00025-DEW-PJH           Document 330        Filed 03/08/17     Page 2 of 2 PageID #:
                                            1787



 plea agreement filed in the record of these proceedings, and that Jeremy Tyler be finally adjudged

 guilty of the offense charged in Count 1 of the Bill of Information.

        THUS DONE AND SIGNED in chambers, at Lafayette, Louisiana, on March 8, 2017.




                                               ____________________________________
                                               PATRICK J. HANNA
                                               UNITED STATES MAGISTRATE JUDGE




                                                 -2-
